        Case
         Case2:11-cr-00223-JAD-CWH
               2:11-cr-00223-JAD-CWH Document
                                     Document261  Filed03/02/16
                                              260 Filed 03/07/16 Page
                                                                  Page11
                                                                       ofof
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 2   District of Nevada
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 4   Las Vegas, Nevada 89101
     702-388-6336
 5
                       UNITED STATES DISTRICT COURT
 6
                            DISTRICT OF NEVADA
 7                                                -oOo-

 8   United States of America,                      )
                                                    )   Case No.: 2:11-CR-223-JAD-CWH
                    Plaintiff,                      )
 9                                                  )   MOTION TO CONTINUE HEARING ON
                                                    )   DEFENDANT’S MOTION FOR EARLY
10          vs.                                     )   RELEASE FROM SUPERVISOIN AND
                                                    )   EXTENSION OF TIME FOR
11   WILLARD DEAN,                                  )   GOVERNMENT TO FILE ITS RESPONSE
                                                    )   TO DEFENDANT’S MOTION (doc. no.
12                  Defendant.                      )   252)
                                                    )             (Second Request)
13

14

15          The United States of America, by and through counsel, DANIEL G. BOGDEN, and the

16   undersigned Assistant United States Attorney, Kimberly M. Frayn, hereby move that the hearing

17   on the Defendant’s motion for early release from supervision, currently set for March 14, 2016,

18   be continued, to a date and time convenient to the Court, but not earlier than 90 days from the

19   present hearing date, and that the Government be granted an extension of time to file the

20   Government’s response to the to the Defendant’s motion for early release from supervision to a

21   date and time convenient to the Court, but not less than 75 days from the present hearing date for

22   the following reasons:

23          1.      The Defendant has requested to be released from supervision early (doc. no.

24   252). A significant amount of restitution remains due and owing for which the Defendant is
        Case
         Case2:11-cr-00223-JAD-CWH
               2:11-cr-00223-JAD-CWH Document
                                     Document261  Filed03/02/16
                                              260 Filed 03/07/16 Page
                                                                  Page22
                                                                       ofof
                                                                          44



 1   jointly and severally liable. The Defendant participated in a Judgment Debtor Exam on or about

 2   February 16, 2016.     At that time, the Defendant was asked to provide certain additional

 3   financial documentation and information. The Defendant is in the process of providing that

 4   documentation and last produced additional documents as recently as Friday, February 26,

 5   2016.

 6           2.     The Government was ordered to file its responsive pleading on March 1, 2016.

 7   However, the Government wishes to make a recommendation to the Court about whether the

 8   Court should or should not grant the Defendant’s motion for early termination after the results

 9   of the Judgment Debtor Exam and the defendant’s supplemental financial documentation and

10   information have been analyzed. The United States Probation Department, Officer Joe Nilo, has

11   asked undersigned counsel to seek a continuance of the hearing date for at least 90 days while

12   this analysis is completed so that accurate representations can be made to the Court about the

13   Defendant’s financial status and his compliance with his existing conditions of release.

14           3.     The Defendant is not in custody. His term of supervision is not scheduled to

15   expire until on or about January 27, 2018. Undersigned counsel contacted defense counsel on

16   March 1, 2016 to inquire whether the parties could stipulate by agreement to the Government’s

17   requested continuance of the motion hearing and extension of time to file the Government’s

18   response to the pending motion; however, at the date of this filing, no response to government

19   counsel’s inquiry has been received. The requested continuance and extension of time is not

20   made merely for delay, but to allow the Government sufficient time to determine all of the

21   factors that it needs to consider in formulating a recommendation for the Court about whether

22   the Defendant should be allowed early termination of supervision.             The brief 90 day

23   continuance and 75 day extension for the Government to file its responsive pleading will not

24   unduly prejudice the Defendant.
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         Case
          Case2:11-cr-00223-JAD-CWH
                2:11-cr-00223-JAD-CWH Document
                                      Document261  Filed03/02/16
                                               260 Filed 03/07/16 Page
                                                                   Page33
                                                                        ofof
                                                                           44



 1           This is the Government’s second request.

 2           THEREFORE, the Government respectfully requests that the Court order that the

 3   hearing on the Defendant’s motion for early release from supervision, currently set for March

 4   14, 2016, be continued, to a date and time convenient to the Court, but not earlier than 90 days

 5   from the present hearing date; and that the Government have an extension of time to file the

 6   Government’s response to the to the Defendant’s motion for early release from supervision to a

 7   date and time convenient to the Court, but not less than 75 days from the present hearing date.

 8   Dated this the 2nd day of March, 2016.

 9                                                             DANIEL G. BOGDEN
                                                               United States Attorney
10                                                             /s/ Kimberly M. Frayn
                                                               KIMBERLY M. FRAYN
11                                                             Assistant United States Attorney
12                                         PROPOSED ORDER
13                  After considering the Government’s motion, the Court hereby finds good cause to
14
     grant the Government’s request.
15           THEREFORE, IT IS HEREBY ORDERED that the Government’s Motion to Continue
16   Hearing On Defendant’s Motion For Early Release From Supervisoin And Extension Of Time
17   For Government To File Its Response To Defendant’s Motion is GRANTED. The hearing
18   currently set for March 14, 2016, is hereby continued, to a date not earlier than 90 days after the
19   March 14, 2016, that is on June 27, 2016, at 9:00
                                ________________,  2016a.m.
                                                        at _______ __.m. and the Government
20   shall file its response to Defendant’s motion before midnight on the 75th day after March 14,
21   2016.
22
                                                   _____________________________________
23                                                 THE HONORABLE JENNIFER A. DORSEY
                                                   UNITED STATES DISTRICT COURT JUDGE
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        Case
         Case2:11-cr-00223-JAD-CWH
               2:11-cr-00223-JAD-CWH Document
                                     Document261  Filed03/02/16
                                              260 Filed 03/07/16 Page
                                                                  Page44
                                                                       ofof
                                                                          44



 1
                                        CERTIFICATE OF SERVICE
 2           The undersigned hereby certifies that the foregoing was served on counsel for defendant
 3   via ECF electronic notification.

 4   Dated: March 2, 2016

 5
                                                           /s/ Kimberly M. Frayn
 6                                                         KIMBERLY M. FRAYN
                                                           Assistant United States Attorney
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